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                                                                     FILED
                IN THE UNITED STATES DISTRICT COURT SEP 18 2020
                    FOR THE DISTRICT OF MONTANA             S District court
                                                   Clerk, U Of Montana
                          BILLINGS DIVISION          District
                                                            Billings


 COL TON WAYNE BEGGS,
                                                  CV 19-106-BLG-SPW-TJC
                      Plaintiff,

 vs.                                                ORDER

 THE CONTROL GROUP MEDIA
 COMPANY, INC., INSTANT
 CHECKMATE, LLC, and JOHN
 DOES "1-100"
              '
                      Defendants.

       Upon the parties' Stipulation of Dismissal with Prejudice (Doc. 31 ), by and

between their counsel of record,

       IT IS HEREBY ORDERED that the above-entitled cause is DISMISSED

with prejudice, with each party to bear their own costs and attorney's fees.

       DATED this    /J:~
                        day of September, 2020.


                                    ~ r'. d,,,_z:6.:~ -
                                       Susan P. Watters
                                       U.S. DISTRICT JUDGE




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